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 9
                                    UNITED STATES DISTRICT COURT
10
                                   EASTERN DISTRICT OF CALIFORNIA
11
12   BRENDEN OWENS, an individual,                   ) Case No.: 2:22-cv-00553-MCE-AC
13                                                   )
                                     Plaintiff,      ) NOTICE OF RESOLUTION
14                                                   )
                             vs.                     )
15
                                                     )
16   CITY OF ROCKLIN, et al.,                        )
                                                     )
17                                   Defendants.     )
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                                            NOTICE OF RESOLUTION
 1          Pursuant to Local Rule 160, the parties hereby notify the Court that an agreement has been
 2   reached between Plaintiff and Defendant to resolve this case, including a dismissal of all claims
 3   with prejudice. The parties are finalizing the paperwork and will file the joint dismissal stipulation
 4   as soon as possible.
 5
       Dated: April 29, 2022                                ANGELO, KILDAY & KILDUFF, LLP
 6
                                                                   /s/ Derick Konz
 7                                                          By:_________________________________
 8                                                             DERICK KONZ
                                                               Attorneys for Defendant
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11     Dated: April 29, 2022                                LAW OFFICES OF JOHN L. BURRIS
12                                                                         /s/ James Cook
13                                                                 (as authorized on 4.29.22)
                                                            By:_________________________________
14                                                             JAMES COOK
                                                               Attorneys for Plaintiff
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                                           NOTICE OF RESOLUTION
